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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                         Case No.: 1:21-cr-00552 DLF-1



                     v.                           ORDER

KENNETH THOMAS,

                          Defendant.




                 This matter is before the Court on the Defendant's Motion to Dismiss Count Two

of the indictment and the Court having considered the motion, the Government's response thereto

and after a hearing on the motion it is this ________________ day of _____________, 2022,

                 ORDERED that the defendant's motion should be and hereby is GRANTED

                 SO ORDERED



                                                     ______________________________
                                                         Dabney L Friedrich
                                                       United States District Judge




DISMISS ORD 150829Z Dec 22
